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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 10-01701
         KENNETH A ADOMAITIS

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/18/2010.

         2) The plan was confirmed on 07/02/2010.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 12/22/2014.

         6) Number of months from filing to last payment: 59.

         7) Number of months case was pending: 62.

         8) Total value of assets abandoned by court order: $0.00.

         9) Total value of assets exempted: $33,497.26.

         10) Amount of unsecured claims discharged without payment: $149,709.07.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

         Total paid by or on behalf of the debtor            $33,880.00
         Less amount refunded to debtor                           $0.00

 NET RECEIPTS:                                                                                  $33,880.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                   $0.00
     Court Costs                                                             $0.00
     Trustee Expenses & Compensation                                     $1,431.15
     Other                                                                   $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $1,431.15

 Attorney fees paid and disclosed by debtor:               $3,500.00


 Scheduled Creditors:
 Creditor                                     Claim         Claim            Claim        Principal      Int.
 Name                               Class   Scheduled      Asserted         Allowed         Paid         Paid
 ASTORIA BANK                   Secured        2,941.00       2,740.85         2,740.85      2,740.85        0.00
 ASTORIA BANK                   Secured             0.00          0.00             0.00           0.00       0.00
 BANK ONE/JPM CHASE             Unsecured         928.00        928.25           928.25        255.18        0.00
 BECKET & LEE LLP               Unsecured      1,896.00            NA               NA            0.00       0.00
 BECKET & LEE LLP               Unsecured      1,266.00       1,710.96         1,710.96        470.35        0.00
 CAPITAL ONE BANK USA           Unsecured      8,602.00       9,041.52         9,041.52      2,485.54        0.00
 CHASE HOME EQUITY              Unsecured     75,747.00            NA               NA            0.00       0.00
 CITIBANK                       Unsecured      4,318.00            NA               NA            0.00       0.00
 DISCOVER BANK                  Unsecured      2,821.00            NA               NA            0.00       0.00
 E LOAN BANK                    Unsecured      8,336.95       8,336.95         8,336.95      8,336.95        0.00
 FIRST EQUITY CARD              Unsecured      6,091.46       6,091.46         6,091.46      1,674.56        0.00
 LVNV FUNDING                   Unsecured     16,639.00     16,639.64        16,639.64       4,574.28        0.00
 LVNV FUNDING                   Unsecured     10,832.00     10,832.55        10,832.55       2,977.90        0.00
 MEDICAL BUSINESS BUREAU        Unsecured         499.20           NA               NA            0.00       0.00
 MEDICAL BUSINESS BUREAU        Unsecured         472.00           NA               NA            0.00       0.00
 MIDLAND FUNDING                Unsecured     22,267.00     22,267.00        22,267.00       6,121.26        0.00
 NATIONWIDE CREDIT & COLLECTION Unsecured         643.00           NA               NA            0.00       0.00
 NORTHLAND GROUP                Unsecured      6,943.52            NA               NA            0.00       0.00
 PORTFOLIO RECOVERY ASSOC       Unsecured      5,936.00       5,936.55         5,936.55      1,631.97        0.00
 PORTFOLIO RECOVERY ASSOC       Unsecured      1,338.00       1,563.69         1,563.69        429.86        0.00
 PORTFOLIO RECOVERY ASSOC       Unsecured      1,008.00       1,008.23         1,008.23        277.17        0.00
 RJM ACQUISITIONS LLC           Unsecured            NA         447.18           447.18        122.93        0.00
 VANDA LLC                      Unsecured      1,097.00       1,273.37         1,273.37        350.05        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                 $2,740.85          $2,740.85              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                      $0.00              $0.00              $0.00
 TOTAL SECURED:                                           $2,740.85          $2,740.85              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $86,077.35         $29,708.00              $0.00


 Disbursements:

         Expenses of Administration                             $1,431.15
         Disbursements to Creditors                            $32,448.85

 TOTAL DISBURSEMENTS :                                                                      $33,880.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/18/2015                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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